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                                                                                                                                                                 EJ-130
 ATTORNEY QR PARTY WITHOUT ATTORNEY. .                      STATE BAR NO. 179079
                                                                                                                                FOR COURT use ONLY
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 Firm NAME Goodwin Procter LLP
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 r-MAii AODRFss sbrun@goodwinlaw.eom
 ATTORNEY FOR Iname) Fitbit. InC.
                   I X I ORIGINAL JUDGMENT CREDITOR           |     | ASSIGNEE OF RECORD
 SUPERIOR COURT OF CALIFORNIA, COUNTY OF US DISTRICT OF NDCA
     STREET ADDRESS 1301 Clay Street
     MAILING ADDRESS

 CITY AND ZIP coon Oakland, C A 94612
       BRANCH NAME Oakland Division

       Plaintiff. Cellspin Soft, Inc.                                                                           CASENUM8ER

                                                                                                                   17-CV-05928-YGR
 Defendant; Fitbit, Inc.

         Q    EXECUTION (Money Judgment)                                                                       I      I Limited Civil Case
                                                                                                                       (including Small Claims)
 WRIT OF f 1 POSSESSION OF      j  j Personal Property
                                                                                                               I X I Unlimited Civil Case
         ( ^1 SALE              d] Real Property                                                                       (including Family and Probate)

1. To the Sheriff or Marshal of the County of: the Northern District of California
  You are directed to enforce the judgment described below with daily interestand yourcosts as provided by law.
2 To any registered process server: You are authorized to serve this writ only in accordance with CCP 699.080 or CCP 715.040.
3,     (Name): Fitbit, Inc.
       is the I X I original judgment creditor |              j assignee of record           whose address is shown on this form above the court's name.

       Judgment debtor (name, type of/ega/enf/fy/frjof a                         I     I See next page for information on real or personal property to be
       natural person, and last known address):                                          delivered under a writ of possession or sold under a writ of sale.
                                                                          10. {        I Thiswrit is issued on a sister-state judgment.
       jCellspin Soft, Inc.                                               For Items 11-17, see form MC-012 and form ft/IC-013-INFO
       11410 Mercy Street
       Mountain View. CA 94041                                            11. Total judgment (as entered or renewed)                  $65,602.94
                                                                          12. Costs after judgment (CCP 685.090)                      $0
                                                                          13. Subtotal (add 11 and 12)                                $65,602.94
                                                                          14. Credits to principal (after credit to interest)         $0
       I   ] Additional judgment debtors on next page
                                                                          15. Principal remaining due (subtract 14 from 13) $65,602.94
5. Judgment entered on (date):                                            16. Accrued interest remaining due per CCP                  $339.21
       Julys, 2018                                                               685.050(b) (not on GO 6103.5 fees)
6- I          I Judgment renewed on (dates),                              17 . Fee for issuance of writ                               $0
                                                                          18. Total (add 15. 16. and 17)                              $65,942
                                                                                                                                      $65,942 15
                                                                                                                                              15
                                                                          19. Levying officer:
7.     Notice of sale under this writ                                            a. Add daily interest from date of writ (at
       3- I X ! has not been requested.                                             the legal rate on 15) (not on GC
       b. I      [ has been requested (see next page),                              6103.5 fees)                                      $4,188
                                                                                 b. Pay directly to court costs included in
8, [          I Joint debtor information on next page.
                                                                                    11 and 17 (GC 6103.5. 68637; CCP
                                                                                    699.520(;))                                       $
                                                                          20.1        I The amounts called for in items 11-19 are different for each
                                                                                        debtor These amounts are stated for each debtor on
                                                                                        Attachment 20.



                                        issued on (date).                                   1 Clerk, by                                                       ,C
                                                                                                                                                               Deputy
                                             NOTICE TO PERSON SERVED: SEE PAGE 3 FOR IMPORTANT INFORMATION.
                                                                                                                                                             I Page1 or 3
rortn Appfoveo tofOpuonai Use                                                                                           Code of Civil Procedure, §§699 620, 712.010. 716 010
Judicial Council of California
                                                                    WRIT OF EXECUTION
                                                                                                                                                Governmenl Code, § 6103.5
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                                                                                                              CASE NUMBER.
   Plaintiff: Cellspin Soft, Inc.
                                                                                                              17-CV-05928-YGR
Defendant: Fitbit, Inc.


21,1        I Additional judgment debtor (name, type of legal entity
              if not a natural person, and last known address):




22.1        I Notice of sale has been requested by (name and address):




23.1        I Joint debtor was declared bound by the judgment (CCP 989-994)
       a. on (date):                                                                   a       on (date):
       b. name, type of legal entity if not a natural person, and                      b       name, type of legal entity if not a natural person, and
          last known address of joint debtor:                                                  last known address of joint debtor:




       c. I     "1      Additional costs against certain joint debtors are itemized:       I      I Below I      I On Attachment 23c


24,1     I {Writ of Possession or Writ of Sale) Judgment was entered for the following:
    a, I    I Possession of real property: The complaint was filed on (dafe),-
              (Check (1) or (2). Check (3) if applicable. Complete (4) if (2) or (3) have been checked.)
            (1) I            I The Prejudgment Claim of Right to Possession was served in compliance with CCP 415.46. The judgment includes
                '              all tenants, subtenants, named claimants, and other occupants of the premises.
            (2) I            I The Prejudgment Claim of Right to Possession was NOT served in compliance with CCP 415.46.
            (3) I           1 The unlawful detainer resulted from a foreclosure sale of a rental housing unit. (Anoccupant not named in the
                              judgment may file a Claim of Right to Possession at any time up to and including the time the levying officer returns
                              to effect eviction, regardless of whether a Prejudgment Claim of Right to Possession was served.) (See CCP 415.46
                              and 1174.3(a)(2).)

            (4) If the unlawful detainer resulted from a foreclosure (item 24a(3)), or if the Prejudgment Claim of Right to Possession was
                not served in compliance with CCP 415.46 (item 24a(2)), answer the following.

                     (a)       The daily rental value on the date the complaint was filed was $
                     (b)       The court will hear objections to enforcement of the judgment under CCP 1174.3 on the following dates (specify):



       b. I          I Possession of personal property.
                       i'      1 If delivery cannot be had, then forthe value (itemize in 24e) specified in the judgmer^or supplemental order.
       c. i          I Sale of personal property.
       d. 1          I Sale of real property.
       e.     The' property is described: I        I Below |    | On Attachment 24e




EJ-130 [Rev January 1,201fll                                       WRIT OF EXECUTION
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                                                                                                                                     EJ-130
     Plaintiff: Cellspin Soft, Inc.                                                            CASt NUMBLR

 Defendant. Fitbit, Inc.                                                                       17-CV-05928-YGR




                                                      NOTICE TO PERSON SERVED                                       ^

 WRIT OF EXECUTION OR SALE. Your rights and duties are indicated on the accompanying Notice ofLevy (form EJ-150).

 WRIT OF POSSESSION OF PERSONAL PROPERTY If the levying officer is not able to take custody of the property, the levying
 officer Will demand that you turn over the property. If custody is not obtained following oemand, the judgment may be enforced as a
 money judgment for the value of the property specified in the judgment or In a supplemental order.

WRIT OF POSSESSION OF REAL PROPERTY If the premises are not vacated within five daysafter the dateofservice on the
occupant or. if service is by posting, within f,ve days after service on you, the levying officer will remove the occupants from the real
propeity and place the judgment creditor in possession of the property, Except for a mobile home, personal property remaining on the
premises will be sold orothenAiise disposed ofin accordance with COP 1174 unless you orthe owner ofthe property pays the
judgment creditor the reasonable cost ofstorage and takes possession of the personal property not later than 15 days after the time
the judgment creditor takes possession of the premises.

EXCEPTION IF RENTAL HOUSING UNIT WAS FORECLOSED. If the residential property thatyou are renting was sold in a
foreclosure, you have additional time before you must vacate the premises. If you have a lease for a fixed term, such as for a year, you
may remain mthe property until the term is up. If you have a periodic leaseor tenancy, such as from month-to-month, you may remain
in the property for 90days after receiving a notice toquit. Ablank form Claim ofRight to Possess/o/7 andNotice ofHearing (form
CP10) accompanies this writ. You may claim your right to remain on the property by filling it out and giving it to the sheriff or levying
officer


EXCEPTION IF YOU WERE NOT SERVED WITH AFORM CALLED PREJUDGMENT CLAIM OF RIGHT TO POSSESSION, If you
were not named in the judgment for possession and you occupied the premises on the date on which the unlawful detainer case was
filed, you may object to the enforcement of thejudgment against you You mustcomplete the form Claim ofRight to Possession and
Notice ofHearing (form CP10) and give it to the sheriff or levying officer. Ablank form accompanies this writ. You have this right
whether or not the property you are renting was sold in a foreclosure




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                                                        WRIT OF EXECUTION
